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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

BARTON GELLMAN,
Plaintiff,

v. Civil Action No. 16-0635 (CRC)

DEPARTMENT OF HOMELAND
SECURITY, et al,

Defendants.

 

 

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CHEDULING ORDER

   

Upon consideration of the Joint Motion for Entry of Proposed Scheduling Order filed by
Defendants Department of Homeland Security, Department of Justice, and the Office of the
Director of National Intelligence (collectively, “Defendants” or the “Government”), and Plaintiff
Barton Gellman, it is hereby ORDERED that the following schedule shall govern proceedings in
this case:

-1. Defendants’ deadline to respond to Plaintiff's Complaint shall be stayed pending
completion of Defendants’ processing of Plaintiff's requests for records under the
Freedom of Information Act (“FOIA”) and the Privacy Act (“PA”) (hereinafter,
the “FOIA/PA Requests”), or until further order of this Court;

2. Within thirty (30) days of the Court’s entry of this Order, the Government shall
make an initial response to Plaintiff's FOIA/PA Requests, releasing to Plaintiff
those pages and segregable portions of records subject to FOJA that Defendants
have processed to date and that Defendants do not assert are exempt from
disclosure. This initial response shall notify Plaintiff of the number of pages of

records processed thus far in response to the FOIA/PA Requests, the number of
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those pages the Government is withholding in whole or 1n part, the basis for those
withholdings, and. whether any Defendant is asserting a Glomar response with
respect to any records processed to date. Within every thirty (30) days thereafter,
the Government will process a minimum of 400 additional pages of records and
will make additional responses to Plaintiff;

3. After ninety (90) days of the Court’s entry of this Order, the Parties will meet and
confer concerning the status of Defendants’ processing, an estimated date of
completion for the processing of all records gathered in response to Plaintiff's
FOIA/PA Requests, and potential ways to narrow the scope of the FOIA/PA
Requests;

4. Within 104 days of the Court’s entry of this Order, the Parties will submit a joint
status report to the Court. The Parties will submit joint status reports to the Court
within every sixty (60) days thereafter;

5. Upon completion of Defendants’ processing of records gathered in response to
Plaintiff's FOIA/PA Requests, the Parties will meet and confer and submit a joint
status report to the Court informing the Court as to the status of this proceeding
and identifying what, if any, issues remain. If the Parties determine that
dispositive motion practice is necessary, they will submit a proposed order setting
a briefing schedule for dispositive motion practice concurrently with that joint
Status report.

SO ORDERED.

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HON. CHRISTOPHER & COOPER
UNITED STATES DISTRICT JUDGE
